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      1                     UNITED STATES DISTRICT COURT

      2                   SOUTHERN DISTRICT OF CALIFORNIA

      3

      4 FEIST, et al.,                      )   Case No. 16CV1369-H-MSB
                                            )
      5             Plaintiffs,             )   San Diego, California
                                            )
      6 vs.                                 )   Friday,
                                            )   November 16, 2018
      7 PETCO ANIMAL SUPPLIES, INC.,        )   10:30 a.m.
        et al.,                             )
      8                                     )
                   Defendants.              )
      9 _____________________________       )

     10
               TRANSCRIPT OF FINAL APPROVAL HEARING/MOTION HEARING
     11                BEFORE THE HONORABLE MARILYN L. HUFF
                           UNITED STATES DISTRICT JUDGE
     12
          APPEARANCES:
     13
          For the Plaintiffs:              MARK S. GREENSTONE, ESQ.
     14                                    Glancy, Prangay, Murray, LLP
                                           1925 Century Park East
     15                                    Suite 2100
                                           Los Angeles, California 90067
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     17 For the Defendants:                FREDERICK W. KOSMO, ESQ.
                                           Wilson, Turner, Kosmo, LLP
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     20 Transcript Ordered by:             HARRY KHARADJIAN

     21 Court Recorder:                    L. Lawrence
                                           United States District Court
     22                                    333 West Broadway
                                           San Diego, California 92101
     23

     24
        Proceedings recorded by electronic sound recording;
     25 transcript produced by transcription service.




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      1   SAN DIEGO, CALIFORNIA     FRIDAY, NOVEMBER 16, 2018 10:30 A.M.

      2                                 --oOo--

      3       (Call to order of the Court.)

      4             THE CLERK:    Number seven on calendar, 16CV1369,

      5 Feist, et al., versus Petco Animal Supplies, Inc., et al., for

      6 a final approval hearing and motions hearing.

      7             THE COURT:    Good morning.

      8             ALL:   Good morning, your Honor.

      9             THE COURT:    There were two matters addressed.          One

     10 was in the preliminary approval.       The cy-pres needed to be

     11 rationally related to the purposes of the settlement, and the

     12 Court is satisfied with that submission.

     13             And then the second matter was that the settlement

     14 administrative costs have gone up from $81,000 to

     15 approximately $114,000 and a little bit more money, but in

     16 light of the settlement, the Court believes that that's fair

     17 as well.   So I don't have any issues on that.

     18             And then today the Plaintiff filed a declaration

     19 indicating that there had been no timely objections but five

     20 opt outs from the settlement.

     21             MR. GREENSTONE:    Yes, your Honor.

     22             THE COURT:    All right.    So the court has this in

     23 open court in the event that there are any objectors or

     24 somebody that comes well after the time that this has been set

     25 to be heard.    And have you both stated your appearances for




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                                                                                2
      1 the record?

      2             MR. GREENSTONE:      Oh, Mark Greenstone for the

      3 Plaintiffs, your Honor.

      4             MR. KOSMO:    And, your Honor, Fred Kosmo, Wilson,

      5 Turner, Kosmo, on behalf of Petco.

      6             THE COURT:    Thank you.

      7             MR. KOSMO:    And, your Honor, I would also -- on

      8 behalf of KCC as the claims administrator, I think they did a

      9 good job, and they addressed all the issues that came up to

     10 make sure the class got proper notice.        So --

     11             THE COURT:    Yes, and there was a lot of work to be

     12 done.   So --

     13             MR. KOSMO:    Yes.

     14             THE COURT:    And I think that that's a reasonable

     15 explanation.    So the Court will certify the settlement class.

     16 The Court will grant final approval of the class settlement,

     17 and then the Court will approve the Plaintiffs' request for

     18 attorneys' fees, costs, and the incentive payment.

     19             the Court -- and on the cy-pres issue, I note the

     20 Supreme Court has taken up the cy-pres case on class action

     21 settlement.     So it is important that the cy-pres be related to

     22 the purposes of the settlement, and in this case I believe it

     23 does, and the parties have addressed that.

     24             Any comments on that issue?

     25             MR. GREENSTONE:      None other than I agree, your




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                                                                                3
      1 Honor.

      2             MR. KOSMO:    Yeah, and I would agree and thank the

      3 Court for helping us in that regard.

      4             THE COURT:    All right.    So anything further from

      5 either of the parties?

      6             MR. GREENSTONE:    No, your Honor.

      7             MR. KOSMO:    Good to see you, your Honor.

      8             THE COURT:    All right.    Nice to see you too.

      9             And the Court will then issue a written order.

     10             MR. KOSMO:    Thank you.

     11             THE COURT:    Thank you for coming.

     12             MR. GREENSTONE:    The only thing I would add, your

     13 Honor, I had an order submitted yesterday, and the reason

     14 being the order that we submitted along with our papers did

     15 not have the list of opt outs.       So I had an order submitted

     16 yesterday that did include that.       So --

     17             THE COURT:    Do you want the order -- the Court's

     18 order to include the opt outs or if I just sign that these

     19 people have opted out, is that sufficient?

     20             MR. GREENSTONE:    I think either way is fine.         I

     21 just wanted the Court to have it in case the Court wanted it.

     22             THE COURT:    Normally I don't list who the opt outs

     23 are.

     24             MR. GREENSTONE:    And I will say the --

     25             THE COURT:    Is there any requirement under --




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                                                                                4
      1              MR. GREENSTONE:   I don't believe so.      In

      2 addition --

      3              THE COURT:   -- Rule 23?

      4              MR. GREENSTONE:   In addition, we did file a

      5 supplemental claims administrator declaration that has the

      6 same exhibit listing them.      So if anybody ever wanted proof on

      7 the record, they would have it.        So I don't think it's

      8 necessary.

      9              THE COURT:   So we could just put the opt outs are

     10 listed in document blah?

     11              MR. GREENSTONE:   Yes.

     12              THE COURT:   Document whatever it is.      All right.

     13 Thank you very much.

     14              MR. GREENSTONE:   Okay.

     15              THE COURT:   Nice to see both of you.

     16              ALL:   Thank you, your Honor.

     17       (Proceedings recessed.)

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                                                                                5
      1             I certify that the foregoing is a correct

      2 transcript from the electronic sound recording of the

      3 proceedings in the above-entitled matter.

      4

      5 /s/Jordan Keilty                 12/18/18
        Transcriber                       Date
      6
        FEDERALLY CERTIFIED TRANSCRIPT AUTHENTICATED BY:
      7

      8 /s/L.L. Francisco
        L.L. Francisco, President
      9 Echo Reporting, Inc.

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